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                                                                          25



1    Mr. Brock posted to that message site?
2    A.         He had said that Mr. Brock had made reference to a

3    civil war, and that this gentleman and other people didn't

4    want to know what kind of -- actually, they questioned him,
5    like, what do you mean?       Are you coming for me?      And he said,

6    you're not worth it.      You don't want to test me.       You don't

7    want to find out what kind of republican I am.           And to
8    that -- I think it was to that question, or to that statement,

9    that the friend said, well, do I need to be worried?              And he's
10   like, no, you're not worth it.

11   Q.         Okay.    And the classmates made reference to -- or

12   said that Mr. Brock talked about a civil war in his posts on
13   that Facebook chat group?

14   A.         That's correct.

15   Q.         Did the -- and you spoke to two other classmates of
16   his as well, in addition to the first one?

17   A.         Yes.

18   Q.         Did they generally corroborate what the first one
19   told you?

20   A.         Yes, they did.
21   Q.         Did you ask them whether they could provide you with

22   screen shots of the messages that they were telling you about?

23   A.         I did, and none of the three of them were able to do
24   that.   They didn't have -- they didn't take screenshots or

25   screen captures at the time, and now don't have access to the


                                                              Government Exhibit
                        Debbie Saenz, CSR, RMR, CRR, TCRR              A
                          United States District Court
                                 (817) 850-6661
